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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA, et al.,

                       Plaintiffs,    Case No. 1:20-cv-03010-APM

v.                                    HON. AMIT P. MEHTA
GOOGLE LLC,

                       Defendant.


STATE OF COLORADO, et al.,

                       Plaintiffs,    Case No. 1:20-cv-03715-APM
v.
                                      HON. AMIT P. MEHTA
GOOGLE LLC,
                       Defendant.




           PLAINTIFF STATES’ PROPOSED CONCLUSIONS OF LAW
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         1.    Section 2 of the Sherman Act makes it unlawful “to monopolize any part of the

trade or commerce among the several States.” 15 U.S.C. § 2. A monopoly maintenance claim

under Section 2 requires proof that the defendant possesses monopoly power in relevant markets

and willfully maintained that power through exclusionary conduct. United States v. Microsoft

Corp., 253 F.3d 34, 50 (D.C. Cir. 2001). Plaintiffs have the initial burden of proving the Section

2 elements by a preponderance of the evidence. LePage’s Inc. v. 3M, 324 F.3d 141, 166 (3d Cir.

2003).

         2.    Plaintiffs have proven that Google possesses durable monopoly power in four

relevant markets (one user-side market and three advertiser-side markets) and uses exclusive

distribution contracts and degraded support for Microsoft Ads features on SA360 to unlawfully

maintain its monopoly power. 1

I.       PLAINTIFF STATES PROVED FOUR RELEVANT MARKETS

         3.    Plaintiff States have proven four relevant product markets. They are the user-side

general search services market and three advertiser-side markets: general search text advertising,

general search advertising and search advertising. Each market is supported by evidence of

demand substitution as well as the “practical indicia” of market definition. JFOF ¶¶ 323-521;

SFOF ¶¶ 1-65. 2


1
  There is no dispute that the Court has jurisdiction and Plaintiff States have standing to pursue
their claims against Google. The court has subject matter jurisdiction under Section 4 of the
Sherman Act, 15 U.S.C. § 4, and 28 U.S.C. §§ 1331, 1337(a), 1345. The Court has personal
jurisdiction over Google and venue is proper in this District because Google transacts business
and is found in this District. See 15 U.S.C. § 22; 28 U.S.C. § 1391. Plaintiff States have
standing under Section 16 of the Clayton Act, 15 U.S.C. § 26, as parens patriae on behalf of and
to protect their general economies and the health and welfare of their residents.
2
  “SFOF” refers to Plaintiff States’ Proposed Findings of Fact and “JFOF” refers to Plaintiffs’
Proposed Findings of Fact jointly submitted by DOJ Plaintiffs and Plaintiff States. “SJ
Decision” refers to the Court’s August 3, 2023 Memorandum Opinion on Google’s summary
judgment motions. Dkt. No. 624.
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       4.      Antitrust markets are defined by a set of products in a particular geography.

Plaintiffs need not prove a relevant market “in the same way the corpus delicti must be proved to

establish a crime.” United States v. Pabst Brewing Co., 384 U.S. 546, 549 (1966). “This is

because ‘[t]he ‘market’, as most concepts in law or economics cannot be measured by metes and

bounds.” United States v. Anthem, Inc., 236 F.Supp.3d 171, 193 (D.D.C. 2017) (quoting Times-

Picayune Publ’g Co. v. United States, 345 U.S. 594, 611 (1953).

       5.      Here, there is no dispute that the United States is the relevant geographic market

for all four product markets. JFOF ¶¶ 396-97, 455, 500; SFOF ¶ 3; FTC v. Staples, Inc., 970 F.

Supp. 1066, 1073 (D.D.C. 1997) (adopting government’s proffered geographic market because it

was unchallenged by the defendant).

       6.      “[A] product market includes all goods that are reasonable substitutes, even

though the products themselves are not entirely the same.” FTC v. Sysco, 113 F. Supp. 3d 1, 25

D.D.C. 2015. Thus, “[b]ecause the ability of consumers to turn to other suppliers restrains a firm

from raising prices above the competitive level, ... the relevant market must include all products

reasonably interchangeable by consumers for the same purposes.” Microsoft, 253 F.3d at 51-52.

       7.      “Whether goods are ‘reasonable substitutes’ depends on two factors: functional

interchangeability and cross-elasticity of demand.” Sysco, 113 F. Supp. 3d at 25. Both factors

look to the availability of substitute commodities, i.e., “[w]hether there are other products

available to consumers which are similar in character or use to the products in question,” as well

as “how far buyers will go to substitute one commodity for another.” Id. Functional

interchangeability refers to whether buyers view similar products as substitutes. Id. Cross-

elasticity of demand evaluates the “responsiveness of the sales of one product to price changes of

the other” and the “ease and speed [and] ... desirability” of substituting between the products. Id.



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at 25-26.

       8.      “[T]he mere fact that a firm may be termed a competitor in the overall

marketplace does not necessarily require that it be included in the relevant product market for

antitrust purposes.” Id. at 26. Substitution must be effective to hold the primary good to a price

near its costs,” id. at 31, so “[i]solated examples of potential substitutability simply do not

outweigh the consistent testimony and representations of industry participants or the empirical

evidence provided by [an expert witness].” FTC v. Tronox Ltd., 332 F. Supp. 3d 187, 202

(D.D.C. 2018); FTC v. IQVIA Holdings Inc., 2024 WL 81232, at *17 (S.D.N.Y. Jan. 8, 2024)

(“the fact that an agency might shift money around during a campaign does not establish that

these alternative channels are substitutes for the distinct features that [the at-issue] advertising

provides”).

       9.      The best evidence to assess buyer demand is how buyers actually spend money in

the marketplace. See Sysco, 113 F. Supp. 3d at 30, 42-43; FTC v. Hackensack Meridian Health,

Inc., 2021 WL 4145062, at *19 (D.N.J. Aug. 4, 2021) aff’d, 30 F.4th 160 (3d Cir. 2022) (relying

on customer views to determine which products compete); SMS Sys. Maint. Servs., Inc. v. Digital

Equip. Corp., 188 F.3d 11, 23 (1st Cir. 1999) (explaining the importance of the “actual behavior”

of customers). On the other hand, courts often give little weight to the views of a product seller

like Google “on the key questions of product interchangeability and cross-elasticity of demand

from the perspective of consumers.” Flovac, Inc. v. Airvac, Inc., 817 F.3d 849, 855 (1st Cir.

2016). For this reason, “[a] market definition which is confined to the seller’s perspective is not

meaningful.” Id.

       10.     In defining a product market, courts look to the Brown Shoe factors for guidance.

Sysco, 113 F. Supp. 3d at 23-24. The Brown Shoe factors are “industry or public recognition of



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the submarket as a separate economic entity, the product’s peculiar characteristics and uses,

unique production facilities, distinct customers, distinct prices, sensitivity to price changes, and

specialized vendors.” Rothery Storage & Van Co. v. Atlas Van Lines, Inc., 792 F.2d 210, 218

(D.C. Cir. 1986) (quoting Brown Shoe Co. v. United States, 370 U.S. 294, 325 (1962)). The

Brown Shoe factors as “evidentiary proxies for direct proof of substitutability.” Sysco, 113 F.

Supp. 3d at 23-24. There are several Brown Shoe factors, but they all serve as “evidentiary

proxies for direct proof of substitutability.” Id.

       11.     While courts often rely on expert economic testimony in evaluating market

definition, expert testimony is not confined to empirical or econometric analysis. See McWane,

Inc. v. FTC, 783 F.3d 814, 829-30 (11th Cir. 2015). Courts may infer substitutability from

expert testimony without the aid of an econometric model. Id. Economic testimony is evaluated

against the record as a whole to determine whether it is “consistent with the business realities” of

the market. Sysco, 113 F. Supp. 3d at 37.

       12.     There is often no single correct market and courts recognize that “a broad product

market may contain smaller markets which themselves constitute relevant product markets for

antitrust purposes.” IQVIA, 2024 WL 81232, at *24 (cleaned up); see also Bertelsmann SE &

Co. KGaA, 646 F. Supp. 3d 1, 28 (D.D.C. 2022). This is because competition may exist at

different levels and therefore relevant antitrust markets may overlap. See Sysco, 113 F. Supp. 3d

at 49 (recognizing a broadline foodservice distribution market and a narrower market for

broadline foodservice distribution to national customers).

       13.     If market participants view a product as necessary or a “must-have,” that product

would have low sensitivity to price changes, would be unconstrained by other products’ pricing,

and would constitute a relevant product market. FTC v. Surescripts, LLC, 665 F. Supp. 3d 14, 42



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(D.D.C. 2023); NCAA v. Bd. of Regents of Univ. of Okla., 468 U.S. 85, 111 (1984) (affirming

antitrust market for college football broadcasts because they “generate[d] an audience uniquely

attractive to advertisers”).

        14.     Plaintiff States have proven four relevant markets: the user-side general search

services market and the advertiser-side general search text advertising, general search

advertising, and search advertising markets, all in the United States. No other product is

“reasonably interchangeable” with general search services, which provide a one-stop-stop for

users to seek out information and destinations across the full breadth of the internet, making

them unique among digital platforms and other sources of information. United States. v. H&R

Block, Inc., 833 F. Supp. 2d 36, 54 (D.D.C. 2011); JFOF ¶¶ 324-33.

        15.     Each of the three advertising markets consists of ad products with distinct

purposes that advertisers view differently from other ad types. JFOF ¶¶ 399-418, 458-79; SFOF

¶¶ 4-38. As compared to other ad types, they have disparate prices, features, buying practices,

and customer bases. JFOF ¶¶ 433, 480-82, 494-97; SFOF ¶¶ 39-65. Moreover, a hypothetical

monopolist in any of the three advertising markets could profitably raise prices above

competitive levels. JFOF ¶¶ 445-46, 498-99. As a result, each advertising market constitutes a

distinct, nested antitrust market.

II.     GOOGLE HAS MONOPOLY POWER IN THE RELEVANT MARKETS

        16.     A firm possesses monopoly power if it has “the power to control prices or exclude

competition.” United States v. E.I. du Pont de Nemours & Co., 351 U.S. 377, 391 (1956).

        17.     Evidence of monopoly power can be direct or indirect. Microsoft, 253 F.3d at 57.

Where both direct and indirect evidence is presented, courts look to both in combination when

analyzing monopoly power. Staples, 970 F. Supp. at 1081-1086.

        18.     Indirect evidence allows for an inference of monopoly power “from a firm’s
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possession of a dominant share of a relevant market that is protected by entry barriers.”

Microsoft, 253 F.3d at 51. “The principal measure of actual monopoly power is market share.”

U.S. Anchor Mfg., Inc. v. Rule Indus., Inc., 7 F.3d 986, 999 (11th Cir. 1993); see also Weiss v.

York Hosp., 745 F.2d 786, 827 (3d Cir. 1984) (“A primary criterion used to assess the existence

of monopoly power is the defendant's market share”). Market shares above 70% “comfortably

exceeds the levels that courts ordinarily find sufficient to establish monopoly power.” FTC v.

Facebook, Inc., 581 F. Supp. 3d 34, 47-48 (D.D.C. 2022). High market shares that remain stable

over time are given additional weight. Bertelsmann SE & Co. KGaA, 646 F. Supp. 3d at 52.

         19.    High barriers to entry and expansion “prevent new competition from entering a

market in response to a monopolist’s supracompetitive prices.” Broadcom Corp. v. Qualcomm

Inc., 501 F.3d 297, 307 (3d Cir. 2007) (citing Microsoft, 352 F.3d at 51). “[O]nly threats that are

likely to materialize in the relativity near future” constrain a firm’s ability to either raise prices

above the competitive level or degrade quality below the competitive level. Microsoft, 253 F.3d

at 57.

         20.    Barriers to entry and expansion include (1) the need for large capital outlays,

Sysco, 113 F.Supp.3d 1, 80 (D.D.C. 2015); FTC v. Swedish Match, 131 F. Supp. 2d 151, 171

(D.D.C. 2000); (2) embedded consumer preferences, Sysco, 113 F. Supp. 3d at 80 (“even if a

newcomer were to make the substantial investment … there is not guarantee that customers will

follow”); and (3) indirect and direct network effects, Microsoft, 253 F.3d at 55-56; Facebook,

581 F. Supp. 3d at 50.

         21.    Customers’ costs to switch to alternate products can also be a barrier to entry.

Facebook, 581 F. Supp. 3d at 50-51; Eastman Kodak Co. v. Image Tech. Servs., Inc., 504 U.S.

451, 476-77 (1992). When switching costs are meaningful, they can deter customers from



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switching away from a monopolist’s product, and thus be more willing to tolerate higher prices

or lower quality. Facebook, 581 F. Supp. 3d at 50-51. Switching costs include the costs of

transferring the consumers history and experience with the existing product or service over to a

new one, which may increase the longer the customer used the existing product. Id.

       22.     In addition, a monopolist’s anticompetitive conduct can itself be a barrier to entry.

United States v. Dentsply Intern., Inc., 399 F.3d 181, 189-90 (3d Cir. 2005); McWane, Inc., A

Corp., & Star Pipe Prod., Ltd. A Ltd. P'ship., 2014 WL 556261 (F.T.C. Jan. 30, 2014) aff’d

McWane, Corp. v. FTC, 783 F.3d 814 (11th Cir. 2015).

       23.     Direct evidence is “something a firm without a monopoly would have been unable

to do” or behavior “difficult to explain unless [the defendant has] a monopoly product.”

Microsoft, 253 F.3d at 57–58. If there is direct evidence “that a firm has in fact profitably

[controlled prices or excluded competition], the existence of monopoly power is clear.” Id. at

51. For example, raising costs for customers who feel they must continue buying from the

monopolist because they lack alternatives cannot be explained unless the defendant has

monopoly power. SFOF ¶¶ 71-112.

       24.     Evidence of sustained supracompetitive prices and margins are highly probative

of monopoly power. FTC v. Actavis, Inc., 570 U.S. 136, 157 (2013) (“higher-than-competitive

profits [are] a strong indication of market power”). Customer sensitivity to increases in prices or

degradation of quality are seminal in determining whether a firm exercises monopoly power.

E.I. du Pont, 351 U.S. at 400. Evidence of price sensitivities may come from the testimony and

experience of buyers. United States v. Visa U.S.A., Inc., 344 F.3d 229, 239 (2d Cir. 2003).

When buyers have nowhere else to turn, a firm controls price and thus wields monopoly power.

Olympia Equip. Leasing Co. v. W. Union Tel. Co., 797 F.2d 370, 374 (7th Cir. 1986) (“evidence



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that even a steep increase in the price … would not have caused many subscribers to switch to

substitute services” implies “a low elasticity of demand … and therefore monopoly power”).

       25.     Plaintiffs have proven Google’s monopoly power in all four relevant markets

through use of direct and indirect evidence. Google’s market share in all four markets has long

exceeded 70%, and each market is insulated by high barriers to entry and expansion. JFOF ¶¶

522-58, 575-85, 602-08; SFOF ¶ 68. Direct evidence of low user and advertiser responsiveness

to price, customer acquisition cost increases, and quality decreases further confirm Google’s

monopoly power. JFOF ¶¶ 563-74, 589-601, 627-724; SFOF ¶¶ 70-112.

III.   GOOGLE ENGAGED IN TWO TYPES OF ANTICOMPETITIVE CONDUCT

       26.     Courts use a three-step framework to determine if a monopolist’s conduct is

anticompetitive and thus violates Section 2. SJ Decision at 21 (citing Microsoft, 253 F.3d at 50).

       27.     First, Plaintiffs must make a prima facia showing that the conduct has an

anticompetitive effect, meaning it “harm[ed] the competitive process and thereby consumers.”

Id. Second, Google may offer procompetitive justifications for its conduct. Id. at 21. Third, if

the non-pretextual procompetitive justifications are unrebutted, Plaintiffs must show that the

anticompetitive harm outweighs the procompetitive benefit. Id.

       28.     This framework is the default mode of analysis and applies to all conduct

challenged by Plaintiff States. Some courts have developed different rules for discrete categories

of conduct not at issue here. For example, the Court recognized at summary judgment that a

showing of “substantial foreclosure” only applies to challenges to exclusive dealing contracts,

and thus is inapplicable to the challenge to Google’s SA360 conduct since it is not premised on

exclusive contracts. Id. at 54 n. 20.

       29.     Evidence of Google’s intent “may help the court to interpret facts and to predict

consequences.” Microsoft, 253 F.3d at 59; SJ Decision at 22. “When courts consider the ‘intent’
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of a firm charged with monopolization, they look not to whether the firm intended to achieve or

maintain a monopoly, but to whether the underlying purpose of the firm’s conduct was to enable

the firm to compete more effectively. Did the firm engage in the challenged conduct for a

legitimate business reason? Or was the firm’s conduct designed solely to insulate the firm from

competitive pressure?” State of Ill., ex rel. Burris v. Panhandle E. Pipe Line Co., 935 F.2d 1469,

1481 (7th Cir. 1991) (quoting Aspen Skiing Co. v. Aspen Highlands Skiing Corp., 472 U.S. 585,

602 (1985)).

       30.     At the first step, Plaintiffs must prove conduct that “tends to impair the

opportunities of rivals and either does not further competition on the merits or does so in an

unnecessarily restrictive way.” Cascade Health Solutions v. PeaceHealth, 515 F.3d 883, 894

(9th Cir. 2008) (citing Aspen, 472 U.S. at 605 n.32). Courts recognize “the means of illicit

exclusion, like the means of legitimate competition, are myriad,” Microsoft, 253 F.3d at 58, and

anticompetitive conduct “can come in too many different forms, and is too dependent upon

context, for any court or commentator ever to have enumerated all the varieties.” Caribbean

Broadcasting System v. Cable & Wireless PLC, 148 F.3d 1080, 1087 (D.C. Cir. 1998).

       31.     The relevant question is not how Google obtained its monopoly power, but rather

what actions it has taken to maintain that power. “[E]ven the monopolist whose market position

results from superior skill, natural advantages, scale economies, and the like may engage in

unlawful exclusionary practices.” Phillip E. Areeda & Herbert Hovenkamp, Antitrust Law: An

Analysis of Antitrust Principles and Their Application ¶ 618 (Fifth Ed. 2023). “[I]f the dominant

firm marketed or structured its product in a way that made it more difficult for rivals or potential

rivals to sell their product and if this marketing or restructuring was not reasonably necessary to

improve the defendant’s own product, … then the dominant firm has violated § 2.” Id. ¶ 651c.



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        32.     To prove the prima facie case, Plaintiffs need only show that Google’s conduct

“reasonably appears capable of making a significant contribution to maintaining monopoly

power.” Microsoft, 253 F.3d at 79. This “rather edentulous [i.e., toothless] test” does not require

“direct proof that [Google’s] continued monopoly power is precisely attributable to its

anticompetitive conduct” because “[t]o some degree, the defendant is made to suffer the

uncertain consequences of its own undesirable conduct.” Id. Put another way, “[t]o require that

Section 2 liability turn on a plaintiff’s ability or inability to reconstruct the hypothetical

marketplace absent a defendant’s anticompetitive conduct would only encourage monopolists to

take more and earlier anticompetitive action.” Id.

        33.     At the second step, Google must “specif[y] and substantiate ... [its] claims” and

prove that its “conduct serves a purpose other than protecting its … monopoly.” Microsoft, 253

F.3d at 66-67. Proffered procompetitive justifications must be “nonpretextual,” Microsoft, 253

F.3d at 59, and courts evaluate whether the proffered justifications “are merely ... an excuse to

cover up different and anticompetitive reasons.” McWane, 783 F.3d at 841-42. “The more

compelling the prima facie case, the more evidence [Google] must present to rebut it

successfully.” FTC v. H.J. Heinz Co., 246 F.3d 708, 725 (D.C. Cir. 2001). In evaluating

whether a justification is genuine or pretextual, courts often give greater weight to

“contemporaneous email exchanges” and other ordinary course documents rather than “in-court

attempts to explain or disavow those documented exchanges.” United States v. Aetna Inc., 240

F. Supp. 3d 1, 70 (D.D.C. 2017); McWane, 783 F.3d at 841-42.

        34.     Plaintiff States have satisfied the prima facie case of anticompetitive conduct as to

both Google’s exclusive distribution contracts and its degraded support for Microsoft Ads

features on SA360. JFOF ¶¶ 728-943; SFOF ¶¶ 113-272.



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       35.     The record establishes that Google’s distribution contracts are exclusive and

substantially foreclose competition in all relevant markets. JFOF ¶¶ 728-970. In addition,

Google’s distribution contracts harm its rivals through a “downstream effect” of making them

less attractive partners to SVPs, thereby further insolating Google’s monopolies from erosion.

SFOF ¶¶ 285-301; SJ Decision at 54 (recognizing that Google’s conduct with respect to SVPs

can be a “downstream effect of Google’s distribution agreements” because “Google’s

distribution agreements limit its rivals’ ability to attract users,” which “weakens Google’s rivals,

and make them less attractive partners to SVPs,” and, in turn, “depresses Google’s rivals’ ability

to compete for general search users”).

       36.     The record also establishes that Google operates SA360 to enhance its monopoly

profits at the expense of its own customers. Google does this by denying cross-engine support

for key Microsoft Ads features like auction-time bidding, which Google knows that advertisers

want because it dramatically improves the productivity of their ad campaigns. SFOF ¶¶ 195-

206, 217-55. The result is that Google uses its existing monopoly power to harm advertisers,

harm Google’s rivals, and harm competition in search advertising markets. SFOF ¶¶ 256-72.

       37.     Google has not proven procompetitive justifications for any of its anticompetitive

conduct. As to the exclusive distribution contracts, Google relies on justifications that lack

sufficient evidence, are not procompetitive, are pretextual, are improperly premised on out-of-

market-effects, and/or are attainable through less-restrictive alternatives. JFOF ¶¶ 1230-78.

Likewise, all of Google’s proffered excuses and procompetitive justifications for its SA360

conduct are pretextual and unsupported by the record. SFOF ¶¶ 273-80.

IV.    THE “DUTY TO DEAL” DOCTRINE IS INAPPLICABLE

       38.     The right of a private business to choose whom they do business with is a

qualified right under the Sherman Act. See Lorain Journal Co. v. United States, 342 U.S. 143,
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155 (1951). Accordingly, “a refusal to cooperate with rivals can constitute anticompetitive

conduct and violate § 2.” Verizon Commc'ns Inc. v. L. Offs. of Curtis V. Trinko, LLP, 540 U.S.

398, 408 (2004). The limited “duty to deal” doctrine has no application where, as here, a

monopolist maintains an ongoing, voluntary course of dealing and manipulates that course of

dealing to prevent customers from utilizing a rival’s product—thus harming both rivals and the

monopolist’s own customers.

       39.     That principle was the basis for the Supreme Court’s decisions in Trinko and

linkLine because both concerned regulatory schemes that compelled a party to deal with its

rivals. Trinko, 540 U.S. 398, 409 (“The complaint does not allege that Verizon voluntarily

engaged in a course of dealing with its rivals, or would ever have done so absent statutory

compulsion.”); Pacific Bell Telephone Co. v. linkLine Comm., Inc., 555 U.S. 438, 450 (2009)

(defendant’s course of dealing with plaintiffs “arises only from FCC regulations”); see also

Covad Comm. v. Bell Atlantic Corp., 398 F.3d 666, 673 (D.C. Cir. 2005) (dismissing antitrust

claims because plaintiff “alleges neither that [defendant] had at one time voluntarily dealt with

[plaintiff] nor that it would ever have been in [defendant’s] interest to have done so.”).

       40.     The animating concern in Trinko is that if a party would never have engaged in a

course of dealing absent compulsion, that party’s “prior conduct sheds no light upon the

motivation of its refusal to deal” and whether it was “prompted not by competitive zeal but by

anticompetitive malice.” 540 U.S. at 409. That concern is not present for a voluntary course of

dealing, which “supports a presumption that the joint arrangement was efficient and profitable,”

Viamedia, Inc. v. Comcast Corp., 951 F.3d 429, 456 (7th Cir. 2020), and thus permits a

reasonable inference that the monopolist’s disparate treatment of a rival is motivated by

anticompetitive malice. See Lorain Journal, 342 U.S. at 155.



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       41.     Court routinely reject application of the “duty to deal” doctrine in antitrust

challenges to voluntary, ongoing business relationships. See Trinko, 540 U.S. at 410

(distinguishing Otter Tail Power Co. v. United States, 410 U.S. 366 (1973), in which “the

defendant was already in the business of providing a service to certain customers … and refused

to provide the same service to certain other customers”); A.I.B. Express, Inc. v. FedEx Corp., 358

F. Supp. 2d 239, 251 n.86 (S.D.N.Y. 2004) (distinguishing Trinko from allegation of “a five-

year-long course of dealing”); Safeway v. Abbott Laboratories, 761 F. Supp. 2d 874, 894 (N.D.

Cal. 2011) (“liability under Section 2 could arise if a defendant unilaterally alters a voluntary

course of dealing”); Parson v. Bright House Networks, LLC, 2010 WL 5094258, at *8 (N.D. Ala.

2010) (“Trinko is distinguishable” and a tying claim is actionable where “plaintiff’s antitrust

claim would exist even absent the FCC’s regulations”).

       42.     Google’s broad reading of Trinko as applying to all dealings between a

monopolist and its actual and potential rivals would immunize vast categories of illegal and

anticompetitive conduct, such as exclusive dealing or tying claim. See Novell, Inc. v. Microsoft

Corp., 731 F.3d 1064, 1072 (10th Cir. 2013); New York ex rel. Schneiderman v. Actavis PLC,

787 F.3d 638, 655 (2d Cir. 2015) (defendants’ decision to withdraw a product and introduce a

new product is anticompetitive because it “sought to deprive consumers [the] choice” of

selecting a competitor); US Airways, Inc. v. Sabre Holdings Corp., 2022 WL 874945 (S.D.N.Y.

Mar. 24, 2022) (contractual restraints of trade, beyond exclusive deals or rebate schemes, may

violate Section 2). That is not the law.

       43.     A monopolist cannot shield itself from antitrust scrutiny when their conduct

interferes with a rival’s relationship with their customers. Lorain Journal, 342 U.S. at 149-50.

The Court has already recognized this is the core issue here. SJ Decision at 56 (“The issue is



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whether Google’s delayed rollout of SA360 support for Microsoft Ads inhibited or dissuaded

advertisers from placing ads on its competitor’s search engine, thereby harming competition in

the general search advertising market.”).

       44.      This type of interference with customer relationships is precisely the assay into

the marketplace commonly ascribed to exclusive dealing or tying claims. Novell, Inc., 731 F.3d

1072 (10th Cir. 2013). This type of behavior is “categorically different from unilateral conduct

that involves only the monopolist's competitors, such as its refusal to deal with them.” New York

v. Facebook, 549 F. Supp. 3d 6, 32 (D.D.C. 2021); cf. ZF Meritor v. Eaton Corp., 696 F.3d 254,

287 (3rd Cir. 2012) (defendant’s conduct “limited the ability of [its rival] to effectively market

its products, and limited the ability of [buyers] to choose from a full menu” of products).

       45.     The D.C. Circuit’s recent application of Trinko in New York v. Meta Platforms,

Inc., 66 F.4th 288 (D.C. Cir. 2023), exemplifies this distinction. In affirming the lower court’s

grant of a motion to dismiss, the Meta court emphasized that the challenged dealing had stopped

and that the challenged policy applied to products directly competitive with the Facebook

platform. Id. at 305 (“Facebook was prohibiting developers from using Facebook’s Platform to

duplicate Facebook’s core products”). In addition, as explained by the lower court, the

challenged conduct was not alleged to have “interfere[d] with the relationship between rivals and

third parties.” Facebook, 549 F. Supp. 3d at 31-32; see also Lorain Journal, 342 U.S. at 149-50,

155. Here (and unlike in Meta), Google’s operation of SA360 expressly interfered with the

ability of advertisers to use Microsoft features that they would find advantageous. SFOF ¶¶ 257-

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Dated: February 9, 2024   Respectfully submitted,


                          FOR PLAINTIFF STATE OF COLORADO

                          Jonathan B. Sallet
                          Special Assistant Attorney General

                          /s/ Jonathan B. Sallet
                          Jonathan B. Sallet, DC Bar No. 336198
                          Steven M. Kaufmann, DC Bar No. 1022365 (inactive)
                          Elizabeth W. Hereford
                          Conor J. May
                          Colorado Office of the Attorney General
                          1300 Broadway, 7th Floor
                          Denver, CO 80203
                          Telephone: (720) 508-6000
                          E-Mail: Jon.Sallet@coag.gov
                          Steve.Kaufmann@coag.gov
                          Elizabeth.Hereford@coag.gov
                          Conor.May@coag.gov

                          William F. Cavanaugh, Jr.
                          PATTERSON BELKNAP WEBB & TYLER LLP
                          1133 Avenue of the Americas Suite 2200
                          New York, NY 10036-6710
                          Telephone: (212) 335-2793
                          E-Mail: wfcavanaugh@pbwt.com

                          Counsel for Plaintiff State of Colorado




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Case 1:20-cv-03010-APM Document 901 Filed 04/30/24 Page 21 of 33




                   FOR PLAINTIFF STATE OF NEBRASKA

                   Joseph M. Conrad, Assistant Attorney General
                   Colin P. Snider, Assistant Attorney General
                   Matthew K. McKinley, Special Assistant Attorney General
                   Nebraska Department of Justice
                   Office of the Attorney General
                   2115 State Capitol
                   Lincoln, NE 68509
                   Telephone: (402) 471-3840
                   E-Mail: Joseph.Conrad@nebraska.gov
                   Colin.Snider@nebraska.gov
                   Matt.Mckinley@nebraska.gov

                   William F. Cavanaugh, Jr.
                   PATTERSON BELKNAP WEBB & TYLER LLP
                   1133 Avenue of the Americas Suite 2200
                   New York, NY 10036-6710
                   Telephone: (212) 335-2793
                   E-Mail: wfcavanaugh@pbwt.com

                   Counsel for Plaintiff State of Nebraska

                   FOR PLAINTIFF STATE OF ARIZONA

                   Robert A. Bernheim, Unit Chief Counsel
                   Jayme Weber, Senior Litigation Counsel
                   Arizona Office of the Attorney General
                   400 West Congress, Ste. S-215
                   Tucson, Arizona 85701
                   Telephone: (520) 628-6507
                   E-Mail: Robert.bernheim@azag.gov
                           Jayme.Weber@azag.gov

                   Counsel for Plaintiff State of Arizona




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                   FOR PLAINTIFF STATE OF IOWA

                   Noah Goerlitz, Assistant Attorney General
                   Office of the Attorney General of Iowa
                   1305 E. Walnut St., 2nd Floor
                   Des Moines, IA 50319
                   Telephone: (515) 725-1018
                   E-Mail: Noah.goerlitz@ag.iowa.gov

                   Counsel for Plaintiff State of Iowa


                   FOR PLAINTIFF STATE OF NEW YORK

                   Elinor R. Hoffmann
                   Morgan J. Feder
                   Michael D. Schwartz
                   Office of the Attorney General of New York
                   28 Liberty Street
                   New York, NY 10005
                   Telephone: (212) 416-8513
                   E-Mail: Elinor.hoffmann@ag.ny.gov
                   Morgan.feder@ag.ny.gov
                   Michael.schwartz@ag.ny.gov

                   Counsel for Plaintiff State of New York


                   FOR PLAINTIFF STATE OF NORTH CAROLINA

                   Kunal Janak Choksi
                   Joshua Daniel Abram
                   Jonathan R. Marx
                   Jessica Vance Sutton
                   North Carolina Department of Justice
                   114 W. Edenton St.
                   Raleigh, NC 27603
                   Telephone: (919) 716-6000
                   E-Mail: kchoksi@ncdoj.gov
                   jabram@ncdoj.gov
                   jmarx@ncdoj.gov
                   jsutton2@ncdoj.gov

                   Counsel for Plaintiff State of North Carolina



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Case 1:20-cv-03010-APM Document 901 Filed 04/30/24 Page 23 of 33




                   FOR PLAINTIFF STATE OF TENNESSEE

                   J. David McDowell
                   Chris Dunbar
                   Austin Ostiguy
                   Tyler Corcoran
                   Office of the Attorney General and Reporter
                   P.O. Box 20207
                   Nashville, TN 37202
                   Telephone: (615) 741-8722
                   E-Mail: David.McDowell@ag.tn.gov
                   Chris.Dunbar@ag.tn.gov
                   austin.ostiguy@ag.tn.gov
                   Tyler.Corcoran@ag.tn.gov

                   Counsel for Plaintiff State of Tennessee


                   FOR PLAINTIFF STATE OF UTAH

                   Scott R. Ryther
                   Tara Pincock
                   Utah Office of Attorney General
                   160 E 300 S, 5th Floor
                   P.O. Box 142320
                   Salt Lake City, Utah 84114
                   Telephone: (385) 881-3742
                   E-Mail: sryther@agutah.gov
                   tpincock@agutah.gov

                   Counsel for Plaintiff State of Utah


                   FOR PLAINTIFF STATE OF ALASKA

                   Jeff Pickett
                   State of Alaska, Department of Law
                   Office of the Attorney General
                   1031 W. Fourth Avenue, Suite 200
                   Anchorage, Alaska 99501
                   Telephone: (907) 269-5100
                   E-Mail: Jeff.pickett@alaska.gov

                   Counsel for Plaintiff State of Alaska




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Case 1:20-cv-03010-APM Document 901 Filed 04/30/24 Page 24 of 33




                   FOR PLAINTIFF STATE OF CONNECTICUT

                   Nicole Demers
                   Office of the Attorney General of Connecticut
                   165 Capitol Avenue, Suite 5000
                   Hartford, CT 06106
                   Telephone: (860) 808-5202
                   E-Mail: Nicole.demers@ct.gov

                   Counsel for Plaintiff State of Connecticut

                   FOR PLAINTIFF STATE OF DELAWARE

                   Michael Andrew Undorf
                   Delaware Department of Justice
                   Fraud and Consumer Protection Division
                   820 N. French St., 5th Floor
                   Wilmington, DE 19801
                   Telephone: (302) 577-8924
                   E-Mail: Michael.undorf@delaware.gov

                   Counsel for Plaintiff State of Delaware

                   FOR PLAINTIFF DISTRICT OF COLUMBIA

                   Elizabeth Gentry Arthur
                   Office of the Attorney General for the District of Columbia
                   400 6th Street NW
                   Washington, DC 20001
                   Telephone: (202) 724-6514
                   E-Mail: Elizabeth.arthur@dc.gov

                   Counsel for Plaintiff District of Columbia


                   FOR PLAINTIFF TERRITORY OF GUAM

                   Fred Nishihira, Chief, Consumer Protection Division
                   Office of the Attorney General of Guam
                   590 S. Marine Corps Drive, Suite 901
                   Tamuning, Guam 96913
                   Telephone: (671) 475-3324

                   Counsel for Plaintiff Territory Guam


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Case 1:20-cv-03010-APM Document 901 Filed 04/30/24 Page 25 of 33




                   FOR PLAINTIFF STATE OF HAWAI‘I

                   Rodney I. Kimura
                   Department of the Attorney General, State of Hawai‘i
                   Commerce & Economic Development
                   425 Queen Street
                   Honolulu, HI 96813
                   Telephone (808) 586-1180
                   E-Mail: Rodney.i.kimura@hawaii.gov

                   Counsel for Plaintiff State of Hawai‘i


                   FOR PLAINTIFF STATE OF IDAHO

                   John K. Olson
                   Office of the Idaho Attorney General
                   Consumer Protection Division
                   954 W. State St., 2nd Floor
                   P.O. Box 83720 Boise, ID 83720
                   Telephone: (208) 334-4114
                   E-Mail: John.olson@ag.idaho.gov

                   Counsel for Plaintiff State of Idaho


                   FOR PLAINTIFF STATE OF ILLINOIS

                   Elizabeth Maxeiner
                   Brian Yost
                   Jennifer Coronel
                   Office of the Attorney General of Illinois
                   100 W. Randolph St.
                   Chicago, IL 60601
                   Telephone: (773) 590-7935
                   E-Mail: Elizabeth.maxeiner@ilag.gov
                           Brian.yost@ilag.gov
                           Jennifer.coronel@ilag.gov

                   Counsel for Plaintiff State of Illinois




                                  20
Case 1:20-cv-03010-APM Document 901 Filed 04/30/24 Page 26 of 33




                   FOR PLAINTIFF STATE OF KANSAS

                   Lynette R. Bakker
                   Kansas Office of the Attorney General
                   120 S.W. 10th Avenue, 2nd Floor
                   Topeka, KS 66612
                   Telephone: (785) 296-3751
                   E-Mail: Lynette.bakker@ag.ks.gov

                   Counsel for Plaintiff State of Kansas

                   FOR PLAINTIFF STATE OF MAINE

                   Christina M. Moylan
                   Office of the Attorney General of Maine
                   6 State House Station
                   August, ME 04333
                   Telephone: (207) 626-8800
                   E-Mail: Christina.moylan@maine.gov

                   Counsel for Plaintiff State of Maine


                   FOR PLAINTIFF STATE OF MARYLAND

                   Schonette J. Walker
                   Gary Honick
                   Office of the Attorney General of Maryland
                   200 St. Paul Place, 19th Floor
                   Baltimore, MD 21202
                   Telephone: (410) 576-6480
                   E-Mail: swalker@oag.state.md.us
                   ghonick@oag.state.md.us

                   Counsel for Plaintiff State of Maryland




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Case 1:20-cv-03010-APM Document 901 Filed 04/30/24 Page 27 of 33




                   FOR PLAINTIFF COMMONWEALTH OF
                   MASSACHUSETTS

                   William T. Matlack
                   Michael B. MacKenzie
                   Office of the Attorney General of Massachusetts
                   One Ashburton Place, 18th Floor
                   Boston, MA 02108
                   Telephone: (617) 727-2200
                   E-Mail: William.matlack@mass.gov
                   Michael.Mackenzie@mass.gov

                   Counsel for Plaintiff State of Massachusetts


                   FOR PLAINTIFF STATE OF MINNESOTA

                   Zachary William Biesanz
                   Office of the Minnesota Attorney General
                   Consumer, Wage, and Antitrust Division
                   445 Minnesota Street, Suite 1400
                   St. Paul, MN 55101
                   Telephone: (651) 757-1257
                   E-Mail: Zach.biesanz@ag.state.mn.us

                   Counsel for Plaintiff State of Minnesota


                   FOR PLAINTIFF STATE OF NEVADA

                   Michelle C. Badorine
                   Lucas J. Tucker
                   Nevada Office of the Attorney General
                   100 N. Carson Street
                   Carson City, NV 89701
                   Telephone: (775) 684-1164
                   E-Mail: mnewman@ag.nv.gov
                   ltucker@ag.nv.gov

                   Counsel for Plaintiff State of Nevada




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Case 1:20-cv-03010-APM Document 901 Filed 04/30/24 Page 28 of 33




                   FOR PLAINTIFF STATE OF NEW HAMPSHIRE

                   Brandon Garod
                   Office of Attorney General of New Hampshire
                   33 Capitol Street
                   Concord, NH 03301
                   Telephone: (603) 271-1217
                   E-Mail: Brandon.h.garod@doj.nh.gov

                   Counsel for Plaintiff State of New Hampshire


                   FOR PLAINTIFF STATE OF NEW JERSEY

                   Isabella R. Pitt
                   Deputy Attorney General
                   New Jersey Attorney General’s Office
                   124 Halsey Street, 5th Floor
                   Newark, NJ 07102
                   Telephone: (973) 648-7819
                   E-Mail: Isabella.Pitt@law.njoag.gov

                   Counsel for Plaintiff State of New Jersey



                   FOR PLAINTIFF STATE OF NEW MEXICO

                   Judith E. Paquin Cholla Khoury
                   Assistant Attorney General
                   New Mexico Office of the Attorney General
                   408 Galisteo St.
                   Santa Fe, NM 87504
                   Telephone: (505) 490-4885
                   E-Mail: jpaquin@nmag.gov
                   ckhoury@nmag.gov

                   Counsel for Plaintiff State of New Mexico




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                   FOR PLAINTIFF STATE OF NORTH DAKOTA

                   Elin S. Alm
                   Assistant Attorney General
                   Consumer Protection and Antitrust Division
                   Office of the Attorney General of North Dakota
                   1720 Burlington Drive, Suite C
                   Bismarck, ND 58504
                   Telephone: (701) 328-5570
                   E-Mail: ealm@nd.gov

                   Counsel for Plaintiff State of North Dakota


                   FOR PLAINTIFF STATE OF OHIO

                   Jennifer Pratt
                   Beth Ann Finnerty
                   Mark Kittel
                   Office of the Attorney General of Ohio
                   30 E Broad Street, 26th Floor Columbus, OH 43215
                   Telephone: (614) 466-4328
                   E-Mail: Jennifer.pratt@ohioattorneygeneral.gov
                   Beth.finnerty@ohioattorneygeneral.gov
                   Mark.kittel@ohioattorneygeneral.gov

                   Counsel for Plaintiff State of Ohio


                   FOR THE PLAINTIFF STATE OF OKLAHOMA

                   Caleb J. Smith
                   Office of the Oklahoma Attorney General
                   313 NE 21st Street
                   Oklahoma City, OK 73105
                   Telephone: (405) 522-1014
                   E-Mail: Caleb.Smith@oag.ok.gov

                   Counsel for Plaintiff State of Oklahoma




                                 24
Case 1:20-cv-03010-APM Document 901 Filed 04/30/24 Page 30 of 33




                   FOR PLAINTIFF STATE OF OREGON

                   Cheryl Hiemstra
                   Oregon Department of Justice
                   1162 Court St. NE
                   Salem, OR 97301
                   Telephone: (503) 934-4400
                   E-Mail: Cheryl.hiemstra@doj.state.or.us

                   Counsel for Plaintiff State of Oregon


                   FOR PLAINTIFF COMMONWEALTH OF
                   PENNSYLVANIA

                   Tracy W. Wertz
                   Joseph S. Betsko
                   Pennsylvania Office of Attorney General
                   Strawberry Square
                   Harrisburg, PA 17120
                   Telephone: (717) 787-4530
                   E-Mail: jbetsko@attorneygeneral.gov
                   twertz@attorneygeneral.gov

                   Counsel for Plaintiff Commonwealth of Pennsylvania


                   FOR PLAINTIFF TERRITORY OF PUERTO RICO

                   Guarionex Diaz Martinez
                   Assistant Attorney General Antitrust Division
                   Puerto Rico Department of Justice
                   P.O. Box 9020192
                   San Juan, Puerto Rico 00902
                   Telephone: (787) 721-2900, Ext. 1201
                   E-Mail: gdiaz@justicia.pr.gov

                   Counsel for Plaintiff Territory Puerto Rico




                                 25
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                   FOR PLAINTIFF STATE OF RHODE ISLAND

                   Stephen Provazza
                   Rhode Island Office of the Attorney General
                   150 South Main Street
                   Providence, RI 02903
                   Telephone: (401) 274-4400
                   E-Mail: SProvazza@riag.ri.gov

                   Counsel for Plaintiff State of Rhode Island


                   FOR PLAINTIFF STATE OF SOUTH DAKOTA

                   Yvette K. Lafrentz
                   Office of the Attorney General of South Dakota
                   1302 E. Hwy 14, Suite 1
                   Pierre, SD 57501
                   Telephone: (605) 773-3215
                   E-Mail: Yvette.lafrentz@state.sd.us

                   Counsel for Plaintiff State of South Dakota


                   FOR PLAINTIFF STATE OF VERMONT

                   Christopher J. Curtis, Assistant Attorney General
                   Office of the Attorney General of Vermont
                   109 State St.
                   Montpelier, VT 05609
                   Telephone: (802) 828-3170
                   E-Mail: christopher.curtis@vermont.gov

                   Counsel for Plaintiff State of Vermont

                   FOR PLAINTIFF COMMONWEALTH OF VIRGINIA

                   Tyler T. Henry
                   Office of the Attorney General of Virginia
                   202 N. 9th Street
                   Richmond, VA 23219
                   Telephone: (804) 692-0485
                   E-Mail: thenry@oag.state.va.us

                   Counsel for Plaintiff State of Virginia


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Case 1:20-cv-03010-APM Document 901 Filed 04/30/24 Page 32 of 33




                   FOR PLAINTIFF STATE OF WASHINGTON

                   Amy Hanson
                   Washington State Attorney General
                   800 Fifth Avenue, Suite 2000
                   Seattle, WA 98104
                   Telephone: (206) 464-5419
                   E-Mail: Amy.hanson@atg.wa.gov

                   Counsel for Plaintiff State of Washington

                   FOR PLAINTIFF STATE OF WEST VIRGINIA

                   Douglas Lee Davis
                   Office of the Attorney General, State of West Virginia
                   1900 Kanawha Boulevard
                   East Building 6, Suite 401
                   P.O. Box 1789
                   Charleston, WV 25305
                   Telephone: (304) 558-8986
                   E-Mail: Douglas.l.davis@wvago.gov

                   Counsel for Plaintiff State of West Virginia

                   FOR PLAINTIFF STATE OF WYOMING

                   Benjamin Peterson
                   Wyoming Attorney General’s Office
                   2320 Capitol Avenue
                   Kendrick Building Cheyenne, WY 82002
                   Telephone: (307) 777-6397
                   E-Mail: Benjamin.peterson2@wyo.gov

                   Counsel for Plaintiff State of Wyoming




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                               CERTIFICATE ON SERVICE

       On February 9, 2024, I served this Plaintiff States’ Proposed Conclusions of Law by email

on counsel for Google and counsel for DOJ Plaintiffs in the above-captioned matters.



 February 9, 2024                                /s/ Matthew McKinley

                                                 Matthew McKinley

                                                 Counsel for Plaintiff States
